809 F.2d 786Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ernest Edward SHAW, Petitioner-Appellant,v.Edward W. MURRAY, Director;  Attorney General of Virginia,Respondents-Appellees.
    No. 86-6780.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 28, 1986.Decided Jan. 9, 1987.
    
      Before RUSSELL, SPROUSE and CHAPMAN, Circuit Judges.
      Ernest Edward Shaw, appellant pro se.
      Richard B. Smith, Assistant Attorney General, for appellees.
      PER CURIAM:
    
    
      1
      A review of the record and the magistrate's opinion discloses that an appeal from his order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 would be without merit.  Because the dispositive issues recently have been decided authoritatively, we deny a certificate of probable cause to appeal, dispense with oral argument, and dismiss the appeal on the reasoning of the magistrate.  Shaw v. Murray, C/A No. 86-356-R (E.D.Va., Sept. 18, 1986).
    
    
      2
      DISMISSED.
    
    